        Case 2:22-cv-00054-SAB    ECF No. 85   filed 06/24/22   PageID.592 Page 1 of 2



 1
 2                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

 3
                                                                   Jun 24, 2022
 4                                                                     SEAN F. MCAVOY, CLERK


 5
 6                            UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 CHRISTOPHER-DAVID COOMBES,
10               Plaintiff,                        No. 2:22-CV-00054-SAB
11               v.
12 CARRIE COOMBES et al.,                          ORDER DISMISSING CASE
13               Defendants.
14
15         Before the Court is Plaintiff’s Construed Motion for Dismissal, ECF No. 84.
16 Plaintiff states that he is voluntarily closing his claim and thereby moving to
17 dismiss the above-captioned matter. Pursuant to Fed. R. Civ. P. 41(a)(2), the Court
18 finds good cause to grant the motion and dismiss the case.
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     ORDER DISMISSING CASE # 1
      Case 2:22-cv-00054-SAB     ECF No. 85    filed 06/24/22   PageID.593 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    The above-captioned matter is DISMISSED without prejudice.
 3        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 4 this Order, provide copies to counsel and pro se Plaintiff, and close the file.
 5        DATED this 24th day of June 2022.
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10                                          Stanley A. Bastian
11                                  Chief United States District Judge
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     ORDER DISMISSING CASE # 2
